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July 29, 2010
VIA Electronic Filing

The Honorable William J. Martini

Martin Luther King Building & U.S. Courthouse
50 Walnut Street

Newark, New Jersey 07101

RE: Docket # 2:09-cv-06244-W.JM-MF, Affidavit of Dr. Rohan Somar

Dear Judge Martini:
We represent the Plaintiff with regard to Docket # 2:09-cv-06244-WJM-MF.

Attached please find a copy of an Affidavit from Dr. Rohan Somar with regard to the
aforementioned case.

Respectfully Submitted,

Eric 8S. Poe, Esq.

Enclosure

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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

EMERGENCY PHYSICIANS OF ST.

: CLARE’S, LLC; MERCER BUCKS

‘ ORTHOPEDICS, PC; AND PASCACK
EMERGENCY SERVICES,

Civil Action No. 09-cy-6244-WIM-MF

AFFIDAVIT OF
- On behalf of themselves and all others ROHAN SOMAR, M.D.
' similarly situated,

laintiff:
Plaintiffs, (Document electronically filed)

¥.
PROASSURANCE CORPORATION;
PROASSURANCE CASUALTY

COMPANY; AND PRGASSURANCE
INDEMNITY COMPANY, INC.,

Defendants.

AFFIDAVIT OF ROHAN SOMAR, MLD.
1, Rohan Somar, M.D., declare under the penalty of perjury as follows:

1. lam the current President, CEO and managing director of Plaintiff Emergency

Physicians of St. Clare’s, LLC (hereafter “EPSC”).
2. [have been the President, CEO and managing director of Plaintiff EPSC since fe, fae le
3 Plaintiff EPSC is a limited lability corporation incorporated under the laws of the State
of New Jersey with its principal place of business in the State of New Jersey.

4. On the date this case was filed, December 9, 2009, Plaintiff EPSC had eleven (1!)

shareholders, all of whom were citizens of the State of New Jersey.

5. Shareholders have varied over time but no shareholder has ever been a citizen of

Delaware, Michigan or Alabama, where defendants are incorporated or have their principal

places of ousiness.

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. Date: tfnt/ vv: af ee
Leo Jk.
jty (eg te
: ‘Rolian Somar

2 Subscribed and Swom to Before Me
this 23ay of July, 2010.

Mlle beter’

7 NOTARY anit

